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                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                  Charlottesville Division


   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, APRIL MUÑIZ, MARCUS
   MARTIN, NATALIE ROMERO, CHELSEA
   ALVARADO, and JOHN DOE,                                    Civil Action No. 3:17-cv-00072-NKM
                                   Plaintiffs,
                                                                   JURY TRIAL DEMANDED
          v.
   JASON KESSLER, et al.,
                                   Defendants.


                                      NOTICE OF APPEARNACE


          PLEASE TAKE NOTICE that Makiko Hiromi of Paul, Weiss, Rifkind, Wharton &

   Garrison LLP hereby makes a general appearance on behalf of Plaintiffs in the above-captioned

   matter. A request is made that this information be entered in the record of this matter.


    Dated: September 8, 2021                          Respectfully submitted,

                                                      /s/ Makiko Hiromi
                                                      Makiko Hiromi (pro hac vice)
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Case 3:17-cv-00072-NKM-JCH Document 1051 Filed 09/08/21 Page 2 of 3 Pageid#: 17576




                                  CERTIFICATE OF SERVICE

          I hereby certify that on September 8, 2021, I filed the foregoing with the Clerk of Court
   through the CM/ECF system, which will send a notice of electronic filing to:


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    and Nationalist Front
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           I hereby certify that on September 8, 2021, I also served the following non-ECF
   participants via mail and electronic mail:

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    Dated: September 8, 2021


                                                    /s/ Makiko Hiromi
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